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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY
                                  (CAMDEN VICINAGE)

 In re:                                            (Hon. Gloria M. Burns)

 Shapes/Arch Holdings L.L.C.,                      Chapter 11
 Shapes L.L.C., Delair L.L.C., Accu-Weld
 L.L.C., and Ultra L.L.C.                          Lead Case No. 08-14631 (GMB)
                                                        (Jointly Administered)
                 Debtors


MOTION OF CERTAIN DIRECT GENERATOR DEFENDANTS FOR RELIEF FROM
  AUTOMATIC STAY TO PERMIT DISMISSAL OF DEBTORS FROM JOINT
                        DEFENSE GROUP

TO:       HONORABLE GLORIA M. BURNS
          UNITED STATES BANKRUPTCY JUDGE

          Boise Cascade Corp.; Weyerhaeuser Company; C-E Glass, Inc.; Rohm and Haas Co.;

Cook Composites and Polymers Co. on its behalf and on behalf of Superior Varnish & Dryer and

C.J. Osborn Chemicals Co.; Devoe Coatings, Inc.; Georgia-Pacific Corp.; Sears Holding

Management Corp.; Ford Motor Co.; SL Industries, Inc./SL Modern Hard Chrome; Our Lady of

Lourdes Medical Center; and West Jersey Hospital (“Certain Direct Generator Defendants” or

simply the “Generator Defendants”), by and through their attorneys, Archer & Greiner, P.C.;

Dewey & LeBoeuf LLP and Norris, McLaughlin & Marcus, P.A. (as local counsel); Conrad
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O'Brien Gellman & Rohn, P.C.; Shook Hardy & Bacon, LLP and Wolff & Samson PC (as local

counsel); Drinker Biddle & Reath LLP, Latham & Watkins, LLP; Saul Ewing LLP and Sachs,

Maitlin, Fleming & Greene, respectively, hereby seek the entry of an order modifying the

automatic stay pursuant to 11 U.S.C. § 362(d) to permit dismissal of the Debtors from that

certain Joint Defense Group (as defined below) and in support thereof state as follows:

                                        BACKGROUND

       1.      As discussed below, the Generator Defendants do not believe that the automatic

stay of Section 362 of the Bankruptcy Code is implicated by their decision to dismiss the Debtors

from the Joint Defense Group (as defined below), and indeed, believe that such dismissal was

properly effectuated on or about April 21, 2008. However, based on communications received

from Debtors’ counsel which dispute the dismissal of Debtors from the Joint Defense Group, out

of an abundance of caution, the Generator Defendants submit this motion lifting the automatic

stay to the extent necessary to permit such dismissal.

       2.      On December 4, 1991, Pennsauken Township and the Authority that owns and

operates a landfill located in Pennsauken, NJ sued numerous defendants in the New Jersey

Superior Court, Law Division, Camden County, in a case captioned Pennsauken Solid Waste

Management Authority and Township of Pennsauken, et al. v. Ward Sand & Materials, Inc., et

al., Docket No. CAM-L-13345-91 and Docket No. CAM-L-13345-93 (the “Pennsauken

Action”).

       3.      Certain of these defendants, including the Debtors as successors in interest to

Aluminum Shapes, LLC, n/k/a Shapes LLC, formed a joint defense group (the “Joint Defense

Group”) subject to a confidential joint defense agreement (the “Joint Defense Agreement”) with

respect to the Pennsauken Action.
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       4.      As is common with such agreements, the Joint Defense Agreement requires that

the parties to the agreement actively engage in the coordination of discovery and other case

related tasks and to make payments to offset the group’s expenses. Further, as is common, a

party may be dismissed by the other members of the group for failure to perform tasks and

assignments, for nonpayment of any shared expense, for failure to continue to have mutual and

common interests, and for other cause shown.

       5.      On March 16, 2008, the Debtors filed voluntary petitions for relief under Chapter

11 of the Bankruptcy Code.

       6.      On March 27, 2008, environmental counsel for the Debtors filed a Notice of

Bankruptcy and Automatic Stay alerting the parties to the Pennsauken Action of the Debtors’

bankruptcy filing and the automatic stay. (See Notice of Bankruptcy and Automatic Stay, attached

hereto as Exhibit A.)

       7.      By letter dated April 1, 2008 (the “Court Stay Letter”), the Court informed

environmental counsel to the Debtors in the Pennsauken Action that the case was stayed as to the

Debtors, but would continue to proceed as to the remaining defendants. (See Court Stay Corr.,

attached hereto as Exhibit B.)

       8.      Subsequent to the filing of the Notice of Bankruptcy and Court Stay Letter,

environmental counsel for the Debtors ceased to have any active involvement in the Pennsauken

Action on behalf of Aluminum Shapes, LLC n/k/a Shapes LLC or the Debtors. Since the

Petition Date, counsel for Debtors on behalf of Aluminum Shapes, LLC n/k/a Shapes LLC or the

Debtors have provided no assistance in the coordination of the ongoing discovery in the

Pennsauken Action and no longer assist in the defense undertaken by the Joint Defense Group.
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       9.      By letter dated April 21, 2008 (the “Dismissal Letter”), all Joint Defense Group

members who were current in their payment of group expenses informed environmental counsel

for Debtors that said members were unanimously dismissing Debtors from the Joint Defense

Group for good cause. (See the Dismissal Letter, attached hereto as Exhibit C.)

       10.     By letter dated May 20, 2008 (the “Removal Letter”), environmental counsel for

the Debtors requested that they be removed from the Joint Defense Group service list for any

communications concerning the Joint Defense Group expert reports. (See the Removal Letter,

attached hereto as Exhibit D.).1

       11.     All remaining Joint Defense Group members continued to work with the group

experts in preparing expert reports for the Pennsauken Action. These reports were due to be

served on May 23, 2008.

       12.     Late in the afternoon of May 22, 2008—the eve of the deadline for submitting the

expert reports—counsel for Debtors sent the remaining Joint Defense Group members a letter via

facsimile alleging that the Dismissal Letter contained many deficiencies and that the actions of

the remaining Joint Defense Group members violated the automatic stay provisions of the

Bankruptcy Code.

       13.     In an attempt to resolve this dispute, during the next 24 hours, numerous

telephone calls and emails ensued between counsel for Debtors and counsel for certain Joint

       1
         Counsel for the Debtors represented two members of the Joint Defense Group:
Aluminum Shapes LLC n/k/a Shapes LLC and A&H Bloom. This letter from Ms. Hennessy,
counsel for Aluminum Shapes LLC n/k/a Shapes LLC and A&H Bloom in the Pennsauken
Action forwarded a letter to the Joint Defense Group requesting that her firm be removed from
any communications pertaining to the Group expert reports. This letter was forwarded
subsequent to the stay pertaining to Aluminum Shapes LLC, n/k/a Shapes LLC and, therefore,
only addressed A&H Bloom. By this letter, counsel for Aluminum Shapes LLC n/k/a Shapes
LLC and A&H Bloom requested to be removed from any communication pertaining to Group
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Defense Group members.        Ultimately, all parties agreed to, and did, insert the following

language into each of the Joint Defense Group’s expert reports:

       Efforts are underway by parties, who this report has been prepared for, to remove
       Aluminum Shapes from this Group. There is a dispute as to whether one must
       seek relief from the automatic stay in the Shapes LLC, a/k/a Aluminum Shapes,
       bankruptcy case to effect such removal. The inclusion of Aluminum Shapes is
       not intended to prejudice the balance of the Group’s rights.

Three such expert reports were served on behalf of the Joint Defense Group on May 23, 2008.

       14.     Numerous depositions, including those of the Joint Defense Group’s experts, have

been scheduled in the Pennsauken Action over the upcoming months, and the Joint Defense

Group will continue to coordinate efforts and incur expenses in connection with this additional

discovery.

                                        Relief Requested

       15.     The Generator Defendants do not believe that the automatic stay precludes

dismissal of the Debtors from the Joint Defense Group and respectfully submit that such

dismissal was effectuated on or about April 21, 2008. Nevertheless, out of an abundance of

caution and as a result of communications from the Debtors’ counsel, the Generator Defendants

seek relief from the automatic stay to dismiss the Debtors from the Joint Defense Group in light

of the Debtors’ failure to participate meaningfully in the defense of the Pennsauken Action and

the change in circumstances that have caused the Debtors’ interests to diverge from those of the

other Joint Defense Group members’ interests in the litigation.




expert reports. The primary purpose of forming the Joint Defense Group was to proffer Group
expert reports and to share in fact and expert discovery.
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                                   Basis for Relief Requested

          16.   Section 362(d)(1) of the Bankruptcy Code provides that on request of a party in

interest and after notice and hearing, the Court shall grant relief from the automatic stay “for

cause.”

          17.   The Bankruptcy Code does not define “cause.” Accordingly, the bankruptcy

courts must decide in each case whether sufficient cause exists for relief from the automatic stay.

In re Wilson, 116 F.3d 87, 90 (3d Cir. 1997)(“Section 362(d)(1) does not define “cause,” leaving

courts to consider what constitutes cause based on the totality of the circumstances in each

particular case.”).

          18.   The “cause” for relief from the automatic stay in this case is: (i) the Debtors are

not participating in the Joint Defense Group; (ii) environmental counsel have withdrawn their

representation in the Joint Defense Group; and (iii) the Generator Defendants no longer wish to

associate with the Debtors as part of the Joint Defense Group.

          19.   In addition to the cause shown above, immediate relief from stay is necessary

because the Generator Defendants are being prejudiced by the Debtors’ failure to participate in

expert discovery which is now underway in the Pennsauken Action.

          WHEREFORE, the Generator Defendants respectfully request that this Court enter an

order modifying the automatic stay pursuant to 11 U.S.C. § 362(d) to permit dismissal of the

Debtors from the Joint Defense Group and granting such other relief as the Court deems just and

proper.
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                                    Respectfully submitted,
                                    DRINKER BIDDLE & REATH LLP

Dated: June 9, 2008                 By: /s/ David B. Aaronson
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